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                      UNITED STATES COURT OF APPEALS
                                 FOR THE
                              SECOND CIRCUIT

       At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
30th day of November, two thousand twenty-three.

________________________________

 Atticus Limited Liability Company,
                                                        ORDER
              Plaintiff - Appellee,
                                                        Docket No. 23-1226
 v.

 The Dramatic Publishing Company,

             Defendant - Appellant.
________________________________
________________________________
The Dramatic Publishing Company,

             Defendant-Appellant-Cross-Appellee,        Docket Nos. 23-7751(L), 23-7850(XAP)

 v.

Atticus Limited Liability Company,

             Plaintiff-Appellee-Cross-Appellant.
________________________________________



       IT IS HEREBY ORDERED that the appeal docketed under 23-1226 shall be heard in
tandem with 23-7751(L), 23-7850(XAP).


                                                    For the Court:
                                                    Catherine O’Hagan Wolfe,
                                                    Clerk of Court
